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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

(1)     ANTHONY P. TUFARO, D.D.S.,                    )
        M.D., F.A.C.S.,                               )
                                                      )
                              Plaintiff,              )
                                                      )
v.                                                    ) Case No. CIV-2020-1138-J
                                                      )
(1)     STATE OF OKLAHOMA, ex rel.                    )
        THE BOARD of REGENTS for the                  )
        UNIVERSITY of OKLAHOMA,                       )
                                                      )
(2)     JASON R. SANDERS, M.D., MBA, in his           )
        individual capacity and his official capacity )
        as the Senior Vice President and Provost,     )
                                                      )
                                                      )
(3)     JOHN P. ZUBIALDE, M.D., in his individual )
        capacity and his official Capacity as the     )
        Executive Dean of the College of Medicine,    )
                                                      )
(4)     STEVEN M. SULLIVAN, D.D.S., F.A.C.S., )
        F.A.C.D., in his individual Capacity and      )
        his official capacity as Chair of the         )
        Department of Surgical Sciences;              )
                                                      )
(5)     KEVIN S. SMITH, D.D.S., in his                )
        individual capacity only,                     )
                                                      )
(6)     PAUL S. TIWANA, D.D.S., in his                )
        individual capacity only,                     )
                                                      )
(7)     BARISH H. EDIL, M.D., F.A.C.S., in his        )
        individual capacity and his official capacity )
        as the Chair of the Departmentof Surgery,     )
                                                      )
                              Defendants.             )


      PLAINTIFF’S COMBINED RESPONSE TO DEFENDANTS’ MOTIONS TO
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       Dr. Anthony P. Tufaro came to OU after an accomplished twenty six year career at

Johns Hopkins. The 119 paragraphs and eight1 causes of action in the Complaint2 provide

a detailed account of Dr. Tufaro’s termination from OU because of his speech on matters

of public concern involving serious financial, ethical, and legal malfeasance by

Defendants, including Drs. Sullivan, Smith, and Tiwana (collectively “Oral Surgeons”).

Knowing the prohibited reason caused Dr. Tufaro’s termination, and contrary to OU’s own

policy, Defendants have never disclosed to Dr. Tufaro the reason for his termination, which

alone suggests Defendants have something to hide. Defendants have compounded the harm

by publicizing their pretextual reason, claiming Dr. Tufaro’s performance was “subpar,”

thereby smearing his good name.

       Defendants’ motions to dismiss (Docs. 5, 6, and 7) ignore the Complaint’s well

pleaded facts and merely make perfunctory statements of the law with little connection to

the Complaint. The motions are meritless and should be denied.

                          Factual Allegations in the Complaint

       A. Dr. Tufaro’s journey to OU. Before joining the University of Oklahoma

(“OU”) medical faculty in September 2017 (Doc. 1-3, ¶ 21), Dr. Tufaro enjoyed a long,

distinguished career at Johns Hopkins in Baltimore. Id., ¶ 16. He holds both an M.D. and

a D.D.S., and is board certified in plastic surgery and in oral and maxillofacial surgery. Id.


1
  The heading between paragraphs 102 and 103 was inadvertently omitted. The heading
should have alleged the Burk tort against only OU as Count VII. This Brief will refer to the
state constitutional claim as Count VI(A) and the Burk tort claim as Count VI(B).
2
  Dr. Tufaro filed his “Petition” in Oklahoma County, Oklahoma. Defendant Sullivan, with
the consent of all other Defendants, including the Regents, removed. As the matter is now
in federal court, Dr. Tufaro will refer to the initial pleading as his “Complaint.”
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Dr. Tufaro’s practice is vast, including major reconstruction of the chest and abdominal

walls, head and neck surgical oncology, management of soft tissue cancers, skin cancer

treatment including melanoma, and craniofacial surgery and reconstruction. Id.

       In early 2017, OU began recruiting Dr. Tufaro to serve as a Professor of Surgery

and Chief of Plastic Surgery. Id., ¶ 18. OU’s recruitment effort culminated in a March 23,

2017, offer to Dr. Tufaro to become a “consecutive term” member of the OU faculty, which

Dr. Tufaro accepted on April 30, 2017. Id., ¶¶ 18-19. The terms of employment were

memorialized in a contract signed by OU on September 15, 2017, and Dr. Tufaro on

October 3, 2017 (“Contract”). Id., ¶ 21. The OU Health Science Center Faculty Handbook

(“Faculty Handbook”) further defines the terms of Dr. Tufaro’s employment. Id.

   B. The terms of Dr. Tufaro’s employment. The Contract provides that “Full-time

faculty who hold a regular faculty title as assistant professor or above and who are

ineligible for tenure shall be eligible for renewal consecutive term appointments with no

restriction placed on the number of terms that may be served.” Id. The Faculty Handbook

further provides that such appointments are “automatically renewed” each fiscal year

“unless notification of non-renewal or termination is given in accordance with Section

3.2.7[.]” Id., ¶ 22. It further provides that any member of the faculty who is terminated

“must be informed in writing of the basis for the action[.]” It specifies the possible reasons

bases termination. Id., ¶¶ 26-27. The Contract terms and the Faculty Handbook required

Defendants to provide Dr. Tufaro a valid reason for termination (¶ 43) and gave him “a

reasonable expectation of continued employment” (¶ 44). “OU routinely renews similar

appointments unless there is a just basis to terminate the appointment.” Id., ¶ 67. Dr. Tufaro
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“had a property right in his continued employment[.]” Id., ¶ 50.

       The Faculty Handbook, § 3.2.7, requires OU to provide Dr. Tufaro at least 180 day’s

notice before a termination becomes effective and to state a basis for the termination. Id.,

¶¶ 22, 25. Defendants’ refusal to disclose to Dr. Tufaro any reason for his termination

prevented him from administratively appealing the termination3 and deprived him of his

right to due process.

       C.      Beginning in December, 2018, Dr. Tufaro discovered and spoke out

about significant malfeasance by Defendants Sullivan, Smith and Tiwana. Dr.

Tufaro’s appointment was automatically renewed in October, 2018. Id., ¶ 23. Shortly

thereafter, Dr. Tufaro discovered the Oral Surgeons used “their faculty positions to funnel

cash patients or patients through the Oklahoma prison system (paid for by the State) to

their private practice clinic, Oral Facial Surgery Center.” Id., ¶ 32. In early 2019, after the

renewal of his Contract, Dr. Tufaro reported to OU officials that the Oral Surgeons’

conduct was “a violation of the agreement between OU and the Oklahoma prison contract,

OU policy and/or Medicare/Medicaid regulations.” Id., ¶¶ 32, 34.

       Dr. Tufaro further discovered and reported to Defendants Edil and Zubialde, as well

as Dr. Roxie M. Albrecht, that the “Oral Surgeons would require patients to return to OU

Medical Center after treatment was started if the private practice was no longer able to be

compensated for the work.” Id., ¶ 33. In early 2019, Dr. Tufaro informed Drs. Edil,



3
 At least four of the listed potential reasons for termination, including “poor clinical
performance, unprofessional behavior, or conduct that jeopardizes patient safety,” permit
Dr. Tufaro to appeal the termination to the Faculty Appeals Board. Id., ¶¶ 27, 28.
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Albrecht, and Zubialde that this practice also violated Medicare/Medicaid regulations. Id.

   D. Dr. Tufaro reported other public concern issues. Dr. Tufaro also reported public

concern issues to Defendant Edil, as well as Warren Churchill and Dr. Postier. Dr. Tufaro reported

OU’s “failure to record medication use as required by law and leaving a medication closet open

instead of locking it, and failing to secure medication in a safe manner.” His reports included

concern regarding the “disappearance of over $16,000 worth of injectable drugs from the plastic

surgery clinic.” Id., ¶ 35. He spoke out about the fact that the Plastic Surgery Clinic was designed

in such a way as to force patients “to walk through in-patient rooms where other patients were

being cared for in order to get to the Plastic Surgery clinic.” Id., ¶ 36. He spoke out that OU allowed

residents to care for patients without an attending surgeon. Id., ¶ 37. All of Dr. Tufaro’s speech

occurred in the six month period between his contract automatically renewing in October, 2018,

and notification of his termination on May 14, 2019. Id., ¶¶ 34-37.

       Defendants’ motions failed to address any of the averments mentioned in

sections C and D herein. These are key allegations.

   E. Defendants moved swiftly to retaliate against Dr. Tufaro, resulting in his

termination. Dr. Tufaro’s reports of malfeasance began in late fall 2018 and continued

into spring 2019. On March 26, 2019, during the exact time he was speaking out, Dr. Tufaro

received a negative performance evaluation – “the first in his exemplary and impressive

career.” Id., ¶ 38. Worse, after Dr. Tufaro received evaluation, Edil modified it to include

a requirement that Dr. Tufaro “improve relationships with the School of Dentistry,”

including the Oral Surgeons. Id., ¶ 39. Dean Raymond A. Cohlmia, who runs the School

of Dentistry, “told Dr. Tufaro after reading Dr. Tufaro’s reports regarding the Oral


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Surgeons, that he would fire Dr. Tufaro for the reports.” Id., ¶¶ 34, 39. Defendant Edil

“advised Dr. Tufaro at the time that the Oral Surgeons are ‘vicious’ people and ran the

School of Dentistry.” Id., ¶ 40.

       Shortly thereafter, on or about May 14, 2019, while he continued to speak out, Dr.

Tufaro was notified he was being terminated. Id., ¶¶ 24, 41. “Dr. Tufaro was terminated as

a result of his speaking out about the Oral Surgeons’ malfeasance and complaint about

HIPPA violations and other matters of public concern.” Id., ¶ 45. The termination occurred

“because the Oral Surgeons wanted Dr. Tufaro removed from OU’s faculty to cover up

their wrongdoing …. [and] was in retaliation for Dr. Tufaro’s reporting of their

malfeasance.” Id., ¶ 46. The fact that Defendants have still provided no explanation to Dr.

Tufaro for the termination serves to bolster his assertions.

       F. Defendants campaign against Dr. Tufaro continued after termination. Dr.

Tufaro secured other employment at the Department of Veterans Affairs hospital located

within the OU campus. His supervisor is Dr. Suhair Maquisi, acting Chief of Plastic

Surgery. Id., ¶ 47. OU personnel told Dr. Maquisi that OU would not allow OU residents

to work with Dr. Tufaro at the VA or at OU because “Dr. Tufaro’s conduct at OU was

subpar.” Id., ¶ 47-48. This fact is significant for three reasons: (1) OU has provided no

basis for Dr. Tufaro’s termination, let alone evidence his conduct was “subpar;” (2) if the

reason for the termination is because his conduct was “subpar,” OU was required by §

3.16(b) to afford Dr. Tufaro the right to appeal his termination to the Faculty Appeals

Board; and (3) calling a distinguished physician “subpar” smears Dr. Tufaro’s good name

and reputation and forecloses opportunities for future employment. Id., ¶¶ 27-28, 108-109.
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                          ARGUMENT AND AUTHORITIES

                                       Proposition I

                        OU is not entitled to sovereign immunity.

       Defendants allege in passing that the University is entitled to Eleventh Amendment

immunity in relation to Dr. Tufaro’s request for relief – focusing only on the claim for

monetary damages. But Dr. Tufaro’s Complaint asks only for “injunctive relief, including

reinstatement, against OU and the Official Capacity Defendants … (in their official

capacity).” Doc. 1-3, ¶ 62 (Free speech retaliation); ¶ 79 (Procedural due process); and ¶

116 (Liberty Interest). While state institutions may possess Eleventh Amendment

immunity, it is not absolute. See generally Lapides v. Bd. of Regents of the Univ. Sys. of

Ga., 535 U.S. 613 (2002); Coll. Sav. Bank v. Fla. Prepaid Postsecondary Educ. Expense

Bd., 527 U.S. 666 (1999). Three exceptions exist: (1) a state’s consent to suit in federal

court, (2) Congress’ abrogation of a state’s sovereign immunity by appropriate legislation,

and (3) application of the doctrine set forth in Ex parte Young, 209 U.S. 123 (1908).

Muscogee (Creek) Nation v. Pruitt, 669 F.3d 1159, 1166 (10th Cir. 2012).

       Reinstatement of employment is a form of prospective equitable relief that is within

the doctrine of Ex parte Young. Meiners v. Univ. of Kan., 359 F.3d 1222, 1232 (10th Cir.

2004); see also Klein v. Univ. of Kansas Med. Ctr., 975 F.Supp. 1408, 1416 (D.Kan. 1997)

(Eleventh Amendment does not bar suit against a state agency that seeks prospective relief

of reinstatement). The Complaint clearly seeks reinstatement as equitable relief for his

constitutional claims. Sovereign immunity does not insulate OU or the University

Defendants in their official capacities.
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                                      Proposition II

A government official sued in his/her individual capacity is entitled to qualified
immunity at the motion to dismiss stage only if the well pleaded facts cannot establish
a constitutional violation that was clearly established at the time of the action.

       Dr. Tufaro alleges in Counts I (First Amendment Retaliation), III (Procedural Due

Process), and VII (Liberty Interest) that certain Defendants violated his constitutional

protections to speak on matters of public concern and his right to due process (pre- and

post-termination). These constitutional deprivations are actionable under 42 U.S.C. § 1983.

       Qualified immunity shields government actors from § 1983 liability only if their

actions either do not violate a statutory or constitutional right or if the violation was not

“clearly established” at the time of the challenged conduct. Harlow v. Fitzgerald, 457 U.S.

800, 818 (1982). When qualified immunity is raised in a motion to dismiss, “all well-

pleaded factual allegations in the … complaint are acceded as true and viewed in the light

most favorable to the nonmoving party.” Moore v. Guthrie, 438 F.3d 1036, 1039 (10th Cir.

2006) (quoting Sutton v. Utah State Sch. For Deaf & Blind, 173 F.3d 1226, 1236 (10th Cir.

1999)). At the motion to dismiss stage, defendants face “a more challenging standard of

review than would apply on summary judgment.” Thomas v. Kaven, 765 F.3d 1183, 1194

(10th Cir. 2014) (quoting Peterson v. Jensen, 371 F.3d 1199, 1201 (10th Cir. 2004)). The

Court only scrutinizes defendants’ conduct as alleged in the Complaint for “objective legal

reasonableness.” Behrens v. Pelletier, 516 U.S. 200, 309 (1996).

       Thus, once qualified immunity is raised in a motion to dismiss, the plaintiff has the

burden in the complaint to come “forward with sufficient facts to show that the defendant’s

actions violated a federal constitutional or statutory right.” Lybrook v. Members of
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Farmington Mun. Sch. Bd. Of Educ., 232 F.3d 1334, 1337 (10th Cir. 2000) (quoting

Baptiste v. J.C. Penney Co., Inc., 147 F.3d 1252, 1255 (10th Cir. 1998)). The determination

of whether any government actor is entitled to qualified immunity is a question of law for

the Court. Brown v. Montoya, 662 F.3d 1152, 1162 (10th Cir. 2011).

       As is spelled out in the Complaint and the propositions below, each of the individual

defendants violated Dr. Tufaro’s clearly established right to be free from retaliation for

speaking out on matters of public concern. Prop. III discusses First Amendment

Retaliation, Prop. IV discusses procedural due process, and Prop. V discusses liberty

interest due process. Of course, qualified immunity requires the Court to analyze whether

these rights were clearly established at the point when Defendants acted to deprive Dr.

Tufaro of these rights – which is addressed in Prop. VI. The remaining propositions VII-

XI address Dr. Tufaro’s state law claims.

                                      Proposition III

Dr. Tufaro alleges in Count I that the OU Board of Regents, in their official capacity,
and Dr. Zubialde, Dr. Edil, Dr. Sullivan and Dr. Sanders in their individual and
official capacities, terminated Dr. Tufaro in retaliation for exercising his right of free
speech on matters of public concern. He properly seeks injunctive relief from the OU
Board of Regents and the Official Capacity Defendants, including reinstatement. He
further properly seeks monetary damages against Defendants Zubialde, Edil,
Sullivan and Sanders for the same violation in their individual capacities.

       A. General elements of a First Amendment claim.

       To establish First Amendment retaliation, the Complaint must identify

constitutionally protected speech that led the identified Defendants to retaliate against the

plaintiff. Dr. Tufaro has plainly identified allegations supportive of his claims. Trant v.

Oklahoma, 754 F.3d 1158, 1165 (10th Cir. 2014). Yet Defendants end their legal analysis
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of Dr. Tufaro’s First Amendment claim by simply asserting “qualified immunity” - as if

they those words ends the inquiry. Doc. 6, pgs. 5-6. But that, of course, does not suffice.

Dr. Tufaro alleged facts sufficient to state a claim for First Amendment retaliation and

which, if true, show that competent persons would know that what Defendants did violated

Dr Tufaro’s rights to defeat qualified immunity. First, however, Dr. Tufaro must establish

an entitled to First Amendment protection.

       “It is well settled that ‘a State cannot condition public employment on a basis that

infringes the employee’s constitutionally protected interest in freedom of expression.’”

Garcetti v. Ceballos, 547 U.S. 410, 413 (2006) (quoting Connick v. Myers, 461 U.S. 138,

142 (1983). “The First Amendment limits the ability of a public employer to leverage the

employment relationship to restrict, incidentally or intentionally, the liberties employees

enjoy in their capacities as private citizens.” Id. at 419. “[P]ublic employees do not

surrender all their First Amendment rights by reason of their employment.” Id. at 417.

       To be sure, the State, as an employer, has an interest “in promoting the efficiency

of the public services it performs through its employees.” Id. (quoting Pickering v. Board

of Education, 391 U.S. 563, 568 (1968)). However, the Court also recognized that “[s]o

long as employees are speaking as citizens about matters of public concern, they must face

only those speech restrictions that are necessary for their employers to operate efficiently

and effectively.” Id. at 419 (citing Connick, 461 U.S. at 147).

       The balance between the interests of the employee and the State is often referred to

as the Pickering Balance. A Court evaluates five elements in First Amendment retaliation

claims: “(1) whether the speech was made pursuant to an employee’s official duties; (2)
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whether the speech was on a matter of public concern; (3) whether the government’s

interests, as employer, in promoting the efficiency of the public service are sufficient to

outweigh the plaintiff’s free speech interests; (4) whether the protected speech was a

motivating factor in the adverse employment action; and (5) whether the defendant would

have reached the same employment decision in the absence of the protected conduct.”

Singh v. Cordle, 936 F.3d 1022, 1034 (10th Cir. 2019). “Whether an employee’s speech

addresses a matter of public concern must be determined by the content, form, and context

of a given statement, as revealed by the whole record.” Connick, 461 U.S. at 147.

       University Defendants’ Motion (Doc. 6)4 only addresses whether Dr. Tufaro’s

speech is “constitutionally protected” (assumed to be element 2) and whether “a nexus

between the speech and any alleged act of retaliation” (element 4) exists. Doc. 6, at 6. They

concede the speech was not part of Dr. Tufaro’s official duties (element 1), Defendants’

interest in promoting efficient government service does not outweigh Dr. Tufaro’s free

speech rights (element 3), and that Defendants would not have terminated Dr. Tufaro in

the absence of his speech (element 5).

       Dr. Tufaro will address the fact that the Complaint establishes all necessary

elements in Prop. III(C), but first Dr. Tufaro must address these Defendants’ incorrect

effort to require Dr. Tufaro to have individually alleged each Defendants’ conduct.

       B. The conduct of Defendants Edil, Sanders, Zubialde, and Sullivan is the
          product of retaliatory animus because of Dr. Tufaro’s speech. Defendants
          cannot individually extract themselves from the animus unless that
          Defendant performed an independent investigation.

4
 The “University Defendants” refers to Defendants Sanders, Zubialde, Edil and Sullivan
and is the reference given them by these Defendants in their Motion to Dismiss (Doc. 6).
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       The University Defendants’ half-hearted attempt to parse the specific conduct

alleged against them fails. The University Defendants argue that “none of the facts alleged

by Plaintiff arise to a violation of Plaintiff’s constitutional rights.” See Doc. 6, at 6.

Defendants futilely ignore the many instances of protected speech the Complaint sets forth.

       Defendants have not questioned Dr. Tufaro’s allegation that his speech “was a

substantial or motivating factor in the decision to terminate” his employment or that they

“used their positions under color of state law to deprive Dr. Tufaro of his free speech

rights.” Doc. 1-3, ¶¶ 55, 56 and 58. Instead of addressing these clearly pleaded allegations,

the University Defendants hope to avoid liability by questioning the specific allegations

against each individual Defendant. Doc. 6, pgs. 6-8. But legally, all these Defendants are

liable under the “cat’s paw” or “subordinate bias” analysis. See Staub v. Proctor Hosp.,

562 U.S. 411, 419-20 (2011) (An “aggregation of animus and adverse action” by multiple

actors can be attributed to all decision makers “if the adverse action is the intended

consequence” of less than all of the actors.); Jordan v. Dillon Companies, 618 Fed.Appx.

926, 928-29 (10th Cir. 2015) (“[A]nimus may be imputed to a neutral decisionmaker under

a ‘subordinate bias’ theory if (1) a supervisor performed an act motivated by animus that

was intended to cause an adverse employment action, and (2) the act was a proximate cause

of the adverse employment action.”).

       The Complaint provides ample evidence that Dr. Tufaro’s termination was caused

by retaliatory animus for his speech. See Prop. III(C)(2) below. Further, no University

Defendant conducted an independent investigation before signing off on the termination.

Thus, it is irrelevant whether anyone of the individual Defendants engaged in specific
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retaliatory conduct only that it was motivated or tainted by animus.

       C. The Complaint pleads in painstaking detail that Dr. Tufaro’s
          constitutionally protected speech was a motivating factor in his termination.

          1. Dr. Tufaro’s speech is constitutionally protected (element 2).

       There is no question Dr. Tufaro engaged in constitutionally protected speech. The

Complaint establishes several specific examples of Dr. Tufaro’s reporting of corruption,

improprieties, and other malfeasance on the part of the Oral Surgeons and other individuals.

And these are only instances of malfeasance currently known by Dr. Tufaro.

       Dr. Tufaro reported that the Oral Surgeons were using “their faculty positions to

funnel cash patients or patients through the Oklahoma prison system (paid for by the State)

to their private practice clinic, Oral Facial Surgery Center.” Id., ¶¶ 32, 34. He further

reported that the “Oral Surgeons would require patients to return to OU Medical Center

after treatment was started if the private practice was no longer able to be compensated for

the work.” Id., ¶ 33. In addition, he reported OU’s “failure to record medication use as

required by law and leaving a medication closet open instead of locking it, and failing to

secure medication in a safe manner,” including the “disappearance of over $16,000 worth

of injectable drugs from the plastic surgery clinic.” Id., ¶ 35. He further spoke out about

the fact that the Plastic Surgery Clinic was designed in such a way as to force patients “to

walk through in-patient rooms where other patients were being cared for in order to get to

the Plastic Surgery clinic.” Id., ¶ 36. In the late fall, 2018, he spoke out about OU allowing

residents to care for patients without an attending surgeon. Id., ¶ 37.

       “Speech which discloses any evidence of corruption, impropriety, or other

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malfeasance on the part of [state] officials, in terms of content, clearly concerns matters of

public import.” Hulen v. Yates, 322 F.3d 1229, 1237 (10th Cir. 2003) (quoting Conaway v.

Smith, 853 F.2d 789, 796 (10th Cir.1988)). Dr. Tufaro’s speaking out about “corruption,

impropriety, or other malfeasance” by the Oral Surgeons is constitutionally protected.

          2. Dr. Tufaro’s termination was motivated by retaliation for his constitutionally
             protected speech (element 4).

       To establish a connection between protected speech and the adverse action, Dr.

Tufaro must allege either direct or circumstantial evidence that his speech was a

“substantial” or “motivating” factor for the termination. Mt. Healthy City School Dist. Bd.

of Educ. v. Doyle, 429 U.S. 274, 287 (1977); Maestas v. Segura, 416 F.3d 1182, 1188 (10th

Cir. 2005). The Complaint must allege his speech is linked to the employer’s action. Id.

       When the defendants know about the speech, “close proximity” between the speech

and the adverse action warrants an inference of retaliatory motive. Maestas, 416 F.3d at

1189 (citing Baca v. Sklar, 398 F.3d 1210, 1221 (10th Cir. 2005)). “Other evidence of

causation may include evidence the employer expressed opposition to the employee’s

speech … or evidence the speech implicated the employer in serious misconduct or

wrongdoing.” Id. Unlike the first three elements of the Pickering Balance, the “motivation

prong is a factual issue typically decided by a jury.” Hedquist v. Beamer, 763 Fed.Appx.

705, 712 (10th Cir. 2019) (citing Trant, 754 F.3 at 1165).

       The Complaint includes ample and specific evidence Dr. Tufaro’s termination was

motivated by retaliation for his speech. Because the speech “implicated the employer in

serious misconduct or wrongdoing,” Maestas requires the Court to infer retaliatory motive.

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But the Complaint goes further. Dr. Tufaro explained OU and several of the Defendants

“expressed opposition” to his speech. After reading Dr. Tufaro’s reports regarding the Oral

Surgeons, the Dental School Dean Cohlmia told Dr. Tufaro that he would fire him for the

reports. Doc. 1-3, ¶ 3). Instead of stopping the malfeasance, Edil ordered Dr. Tufaro to

“improve relationships with the School of Dentistry,” including the Oral Surgeons, the

subjects of many of his complaints of malfeasance. Doc. 1-3, ¶ 39. Edil also told him that

“the Oral Surgeons are ‘vicious’ people and ran the School of Dentistry.” Doc. 1-3, ¶ 40.

Knowing how vicious these people were, Edil did nothing to protect Dr. Tufaro, but instead

enjoined him to “find a way to work with the Oral Surgeons.” Id. This shows Defendants

“expressed opposition” to Dr. Tufaro’s speech, which Maestas also finds sufficient.

      The Complaint goes even further, identifying the close proximity between the

speech and the adverse employment action as well as Defendants’ knowledge of the

speech. Defendants cannot, and do not, argue that they were unaware of Dr. Tufaro’s

speech as it was expressed to many of them directly, (Doc. 1-3, ¶¶ 34-37), between late

2018 and the spring of 2019. Doc. 1-3, ¶¶ 34-38. The first adverse action – the negative

performance evaluation – took place on March 26, 2019. Doc. 1-3, ¶¶ 38-39. Just a few

weeks later, on May 14, 2019, Dr. Tufaro was notified of his termination. Doc. 1-3, ¶ 41.

      Defendants’ utter refusal to provide any explanation for Dr. Tufaro’s termination is

further evidence his termination was the result of his protected speech. Dr. Tufaro is an

exceptional surgeon with an impressive pedigree. OU went to great expense and effort to

recruit Dr. Tufaro from Johns Hopkins. Yet, Dr. Tufaro reported malfeasance, Defendants

terminated him without giving him the reasons for his non-renewal as required by the
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Contract and the Faculty Handbook. The inference from this failure strongly points the

prohibited reason as the actual motivation. On a motion to dismiss, the Court must accept

this inference in favor of the plaintiff. The Complaint more than adequately pleads the

allegations needed for the motions to dismiss to be denied.

                                      Proposition IV

Count III of the Complaint alleges that the OU Board of Regents, in their official
capacity, and Defendants Zubialde, Edil, Sullivan and Sanders, in their individual
and official capacities, took Dr. Tufaro’s property interest in continued employment
without providing him due process. Dr. Tufaro properly seeks injunctive relief
against the OU Board of Regents and these individual Defendants in their official
capacities, to include a hearing and reinstatement. Dr. Tufaro also properly seeks
money damages against these individual Defendants in their individual capacities.

       In Count III, Dr. Tufaro alleges he had a property interest in his continued

employment. “Procedural due process claims require a two-part analysis. First, [the Court

must] assess whether Plaintiff’s interest was protected by the Fourteenth Amendment, and

if so, whether Plaintiff was afforded an appropriate level of process.”. Because it is clear

that Dr. Tufaro was not afforded any process, Defendants focus only on the first-part –

whether Dr. Tufaro had a property interest.

       This Court must look to state law to determine whether Dr. Tufaro had a

constitutionally protected property interest. Watson v. Univ. of Utah Med. Ctr., 75 F.3d

569, 577 (10th Cir. 1996). “[P]roperty interests … are not created by the Constitution but

rather … by existing rules or understandings that stem from an independent source such as

state law.” Fisher Sand & Gravel, Co. v. Giron, 465 Fed.Appx 774, 779 (10th Cir. 2012)

(quoting Bd. of Regents v. Roth, 408 U.S. 564, 577 (1972)). “Valid contracts may constitute

a property interest for purposes of due process.” Id. at 779-80.
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       Property interests include the right to continued employment. Cleveland Bd. of

Educ. v. Laudermill, 470 U.S. 532, 538-39 (1985); Tonkovich v. Kan. Bd. of Regents, 159

F.3d 504, 517 (10th Cir. 1998). Moreover, the right to continued employment can be

established by implied-in-fact terms in a contract. Vinyard v. King, 728 F.2d 428, 431 (10th

Cir. 1984) (“Mutually explicit understandings can create a property interest in continued

employment by means of an implied contract.”) (citing Bishop v. Wood, 426 U.S. 593, 601

(1972)). Further, “substantive restrictions” on the employer in an employment agreement

and/or in the custom and practice of the employer can also serve as protected property

interests. Hulen v. Yates, 322 F.3d at 1241.

       Under Oklahoma law, an employment contract includes the promises made in the

written contract itself and “all such implied provisions as are indispensable to effectuate

the intention of the parties, and arise from the language of the contract and the

circumstances under with it was made.” Miller v. Ind. Sch. Dist. No. 56 of Garfield Cty.,

1980 OK 19, ¶ 11, 609 P.2d 756, 758-59. The implied-in-fact terms “encompasses all

provisions – discernible from the circumstances under which the agreement was reached –

which are indispensable to effectuate the parties’ intentions.” Id. A Faculty Handbook can

create terms of the implied contract. Russell v. Bd. of Cnty. Comm’rs, 1997 OK 80, ¶ 23,

952 P.2d 492, 501-02. The implied terms of a contract “is a factually intensive question.”

Dixon v. Bhuiyan, 2000 OK 56, ¶ 12, 10 P.3d 888, 891-92; Russell, ¶ 23, 502.

       Defendants assert dismissal is required because the Faculty Handbook allows OU

to refuse to renew the consecutive term employment upon a timely notice. Doc. 6, pgs. 8-

9. However, Defendants ignore several significant allegations in the Complaint. Dr. Tufaro
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was employed on a 12 month “consecutive term” appointment. Doc. 1-3, ¶ 20. While he

did not have full academic tenure, the terms of this appointment provided Dr. Tufaro

significant assurances of continued employment absent justifiable reason for termination.

For example, the written terms of the Contract provide that Dr. Tufaro “shall be eligible

for renewal consecutive term appointments with no restriction placed on the number of

terms that may be served” and that he could attain academic tenure in the future. Id., ¶ 21.

       The Faculty Handbook provides guarantees Dr. Tufaro would not be terminated

unless good cause existed. “Consecutive term appointments are automatically renewed for

the next fiscal year unless notification of non-renewal is given[.]” Id., ¶ 22. Notification

must include in writing the reason for the non-renewal and must state one of the reasons

enumerated in § 3.16.1. Id., ¶ 25-26. At his appointment, Dr. Tufaro was assured “OU

routinely renews similar appointments unless there is a just basis for terminating the

appointment.” Id., ¶ 67. Thus, Dr. Tufaro “had a reasonable expectation of continued

employment based on his Contract and the provisions in the Faculty Handbook.” Id., ¶ 71.

                                      Proposition V

Count X alleges the OU Board of Regents, in their official capacities, and all
individual Defendants, in their official capacities, owe Dr. Tufaro a name clearing
hearing because his termination affects his good name and reputation. Dr. Tufaro is
further entitled to money damages against the individual Defendants in their
individual capacities for their conduct in damaging Dr. Tufaro’s constitutionally
protected liberty interest without due process.

       The Complaint includes evidence the termination was in retaliation for Dr. Tufaro’s

speech. Although Defendants have not officially explained to him why they terminated his

employment, OU officials have given others a pretextual reason for terminating him –

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claiming his conduct at OU was “subpar.” Doc. 1-3, ¶¶ 47-48. OU told Dr. Tufaro’s current

employer, the VA, and Dr. Tufaro personally that OU would not allow its Residents to

work with Dr. Tufaro either at the VA or at OU (where Dr. Tufaro still enjoys privileges).

Id. at ¶ 47. These comments and actions cast Dr. Tufaro in a light “that might seriously

damage [his] standing or associations in the [medical] community and foreclose [his]

freedom to take advantage of future employment opportunities[.]” Melton v. City of

Oklahoma City, 928 F.2d 920, 927 (10th Cir. 1991). Publication of these statements give

rise to a liberty interest claim against these Defendants. Id.

       To be actionable, the disparaging statement must be disclosed publically. Bishop v.

Wood, 426 U.S. 341, 348 (1976). Further, the statement must be false. Codd v. Velger, 429

U.S. 624 (1977). “There must be some factual dispute between an employer and a

discharged employee which has some significant bearing on the employee’s reputation.”

Id. at 627. Finally, the false statement must accompany the termination or foreclose other

employment opportunities. Paul v. Davis, 424 U.S. 693, 710 (1976); Workman v. Jordan,

32 F.3d 475, 481 (10th Cir. 1994).

       Defendants argue Dr. Tufaro did not meet any of the elements required for a liberty

interest claim. Doc. 6, pg. 10. Apparently, Defendants do not believe calling a distinguished

physician “subpar” or refusing to allow its residents to work with him can seriously damage

his reputation in the medical community. Melton, supra. Defendants also argue the

statements did not occur in the course of the termination. But, the Tenth Circuit has found

a liberty interest claim is made with a post-termination disclosure. Bjorklund v. Miller, 467

Fed.Appx. 758, 767-68 (10th Cir 2102). “Publication of defamatory statements need not be
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strictly contemporaneous with a termination to occur in the course of the termination of

employment.” Id. at 768.

       Further, the fact that Dr. Tufaro asserts his termination is retaliation for his speech

does not foreclose his liberty interest claim in having to explain the pretextual reasons

being given by Defendants. Id. at 769. Now that it is out, Dr. Tufaro has to explain his

termination from OU to potential employers which has rendered him unable to secure

comparable employment. Doc. 1-3, ¶¶ 113, 117 (“Dr. Tufaro has been harmed by loss of

his reputation [and] … continues to be economically injured[.]”).5 Dr. Tufaro’s liberty

interest claim is well pleaded and not subject to dismissal.

                                       Proposition VI

Dr. Tufaro’s protected Constitutional rights to free speech, procedural due process,
and liberty were clearly established when his termination was announced.

       “The relevant, dispositive inquiry in determining whether a right is clearly

established is whether it would be clear to a reasonable officer that his conduct was

unlawful in the situation.” Comprehensive Addition Treatment Ctr. v. Leslea, 552

Fed.Appx. 812, 815-16 (10th Cir. 2014) (quoting McBeth v. Himes, 598 F.3d 708, 716 (10th

Cir. 2010)). “Ordinarily, in order for the law to be clearly established, there must be a

relevant Supreme Court or Tenth Circuit decision on point, or the clearly established

weight of authority from other circuits must have found the law to be as the plaintiff

maintains, ... such that existing precedent has placed the statutory or constitutional question


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 Defendants point to the fact that Dr. Tufaro found other employment. (Doc. 6, pg. 10).
This does not mean, as Defendants imply, that employment opportunities have not been
foreclosed.
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beyond debate.” Id. at 816 (internal citations omitted). “The more obviously egregious the

conduct in light of prevailing constitutional principles, the less specificity is required from

prior case law to clearly establish the violation.” Id. (quoting Pierce v. Gilchrist, 359 F.3d

1279, 1298 (10th Cir.2004)).

          A. It is clearly established that State employers are prohibited from
             terminating an employee because of the employee’s protected speech.

       State employers have known – at least since the Pickering decision in 1968 – that

they cannot terminate employees because of their protected speech. The Tenth Circuit on

numerous occasions have explained to state actors that they cannot terminate employees

for their exercise of their right to speak on matters of public concern. Anderson v. McCotter,

100 F.3d 723, 729 (10th Cir. 1996) (“The law has been clearly established since 1968 that

public employees may not be discharged in retaliation for speaking on matters of public

concern, absent a showing that the government employer’s interest in the efficiency of its

operations outweighs the employee’s interest in the speech.”) (citations omitted). “[T]he

Supreme Court ‘has cautioned time and again that public employers may not condition

employment on the relinquishment of constitutional rights.’” Helget v. City of Hays, Ks.,

844 F.3d 1216, 1221 (10th Cir. 2017) (quoting Lane v. Franks, 573 U.S. 228, 236 (2014).

See also Paradis v. Montrose Memorial Hosp., 157 F.3d 815, 819 (10th Cir. 1998) (Nurses

constructively discharged “after speaking to hospital administrations about appellant

Doerer’s allegedly unethical and illegal conduct” found to have violated clearly established

First Amendment protection.). In the Tenth Circuit, it “has long been established law …

that when a public employee speaks as a citizen on matters of public concern to outside

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entities despite the absence of any job-related reason to do so, the employer may not take

retaliatory action.” Thomas v. City of Blanchard, 548 F.3d 1317, 1328 (10th Cir. 2008)

(quoting Casey v. West Las Vegas Ind. Sch. Dist., 473 F.3d 1323, 1333-34 (10th Cir. 2007).6

       Free speech is especially clearly established in academic settings even if the

professor is not tenured, like Dr. Tufaro here. See e.g., Perry v. Sindermann, 408 U.S. 593,

597-89 (1972).

          B. It is clearly established that the University Defendants were required to
             provide Dr. Tufaro notice and an opportunity to be heard before
             terminating his employment.

       “Oklahoma law recognizes ‘the terms of employment established by an employer

… may create a sufficient expectancy of continued employment to constitute a property

interest, which must be afforded constitutionally guaranteed due process.” Patrick v.

Miller, 953 F3d 1240, 1244 (10th Cir. 1992) (quoting Hall v. O’Keefe, 1980 OK 108, ¶ 9,

617 P.2d 196, 200). When the employment contract provides specific reasons for

termination, “Oklahoma courts would not allow [government] officials to alter those terms

so as to expand their authority to the determinant of employees.” Patrick v. Miller, 953

F.2d at 1244.7 The Faculty Handbook specified the reasons Dr. Tufaro could be terminated.

Silence was not one of them. Like the employees in Patrick, Dr. Tufaro had “a legitimate

expectation of continued employment to the extent that [the Faculty Handbook] limits its



6
  The fact that Dr. Tufaro spoke to OU personnel and not an “outside entity” is of no
moment. Garcetti, 547 U.S. at 421 (“Employees in some cases may receive First
Amendment protection for expressions made at work.”)
7
  Patrick involved the City of Tulsa, but there is no reason the Faculty Handbook should
be treated differently than the City Charter.
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officials’ power to terminate such employment.” Id. at 1245. Further, it “is well established

that an implied-in-fact contract is a source of state law that can potentially create an

expectation of continued employment.” Kingsford v. Salt Lake City Sch. Dist., 247 F.3d

1123, 1132 (10th Cir. 2002) (citing Perry v. Sindermann, 408 U.S. 593, 601-02 (1972).

          C. It is clearly established that the University Defendants were required to
             provide Dr. Tufaro a name-clearing hearing when they articulated his
             termination was due to “subpar” performance.

       “Where a person’s good name, reputation, honor, or integrity is at stake because of

what the government is doing to him, notice and an opportunity to be heard are essential.”

Wisconsin v. Constantineau, 400 U.S. 433, 437 (1971). Since at least 2012, the Tenth

Circuit has found it clearly established that post-termination statements that implicate

liberty interests, even if not the reasons given during the termination, give rise to a liberty

interest claim. Bjorklund v. Miller, 467 Fed.Appx. at 769. The supervisor there told the

newspaper after the termination that the employee perjured himself during the pre-

determination hearing. The fact that the employee then had to explain and defend against

the false charge constituted a deprivation of liberty. Id.

                                      Proposition VII

Count II of the Complaint properly alleges all elements of a state law claim against
OU for breach of his consecutive term employment contract.

       As Dr. Tufaro explained in Prop. IV, Dr. Tufaro had a reasonable expectation of

continued employment unless a just cause reason existed for his termination. When looking

at implied terms, “the Court will consider (a) the parties’ acts, conduct and statements as a

whole, (b) whether there was a meeting of the minds on the agreement’s essential elements,

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(c) the parties’ intent to enter into a contract upon defined terms, and (d) whether one of

the parties has relied in good faith upon the alleged contract.” Dixon, 2000 OK 56, ¶ 10,

10 P.3d at 891.

       OU’s argument the Complaint does not allege a breach of contract because OU

“followed the terms of the contract,” (Doc. 5, pg. 5), is specious. To get there, OU cites

portions the Complaint while ignoring others. OU points out that ¶¶ 21, 22, 24 and 25 of

the Complaint outline that OU provided the 180 day notice for non-renewals as required

by § 3.2.7(b) of the Faculty Handbook. Id. But OU ignores the other relevant paragraphs.

For example, OU ignores that it “routinely renews similar appointments unless there is a

just basis for terminated the appointment.” Id., ¶ 67. This fact led Dr. Tufaro to believe he

“had a reasonable expectation of continued employment.” Id., ¶ 44. These assertions alone

at the motion to dismiss phase confirm the expressed and implied terms of the employment

contract between Dr. Tufaro and OU required a just reason for his termination.

       OU also ignores it was contractually required to provide the basis for any non-

renewal for one of the reasons enumerated in § 3.16.1. Doc. 1-3, ¶ 25. The “Faculty

Handbook requires that ‘A faculty member against who the imposition of … termination

of employment … must be informed in writing of the basis for the action.’” Id., ¶ 26.

Notification of the reason for termination is an extremely important contract right for Dr.

Tufaro and was clearly violated. Id. ¶¶ 24, 25, and 41. Dr. Tufaro is entitled by the Faculty

Handbook to an appeal of his termination to the Faculty Appeals Board if the termination

is because of “poor clinical performance, unprofessional behavior, or conduct that


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jeopardizes patient safety.” Id., ¶¶ 27-28.8 Dr. Tufaro appropriately pleaded he had a

contract that required a just reason for his termination. OU’s failure to provide any reason

is alone a breach subjecting OU to liability.

       OU’s argument Dr. Tufaro suffered no damages is absurd. OU first argues that the

claim is for anticipated continuous employment and therefore it somehow fits into the

“anticipated lost profits” discussion in Florafax Intern. Inc. v. GTE Market Resources, Inc.,

1997 OK 7, 933 P.3d 282. But Florafax did not involve breach of an employment contract

which renders it meaningless here. Damages for breaches of employment contracts always

include the difference between what the employee would have earned had he not been

terminated and what he actually earned by mitigating his damages. See OUJI 21.11.

       OU’s assertion that Dr. Tufaro’s subsequent employment at the VA means he

“suffered no damages and cannot allege them,” Doc. 5, pg. 5, is nonsense. As stated in the

Complaint, Dr. Tufaro is not earning what he would have earned had he not been

wrongfully terminated, thus is incurring damage. Doc. 1-3, ¶¶ 59, 69, 90, 96, 101 and 106.9

       Count II, breach of contract against OU, is properly pleaded. OU’s motion to



8
  There are three other enumerated reasons for termination in the Faculty Handbook that
would have allowed Dr. Tufaro to appeal the decision to the Faculty Appeals Board, none
of which could possibly apply to Dr. Tufaro. See Doc. 1-3, ¶ 27.
9
  These paragraphs in the Complaint do not specifically state the VA job pays less than OU.
However, Dr. Tufaro is entitled to all reasonable inferences in the Complaint on a motion
to dismiss. Brokers’ Choice of America, Inc. v. NBC Universal, 861 F.3d 1081, 1105 (10th
Cir. 2017 (“In ruling on a motion to dismiss for failure to state a claim, ‘all well-pleaded
facts, as distinguished from conclusory allegations, must be taken as true,’ and the court
must liberally construe the pleadings and make all reasonable inferences in favor of the
non-moving party.”) (Quoting Ruiz v. McDonnell, 299 F.3d 1173, 1181 (10th Cir. 2002)
(emphasis original).
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dismiss Count II is without merit.

                                     Proposition VIII

Count IV of the Complaint alleges a state law claim that all of the individual
Defendants tortiously interfered with Dr. Tufaro’s business relationship with OU.
Defendants Sullivan, Smith and Tiwana, did not directly address this claim in their
respective motions. The law is clear that an employee can tortiously interfere with
another employee’s contract with the same employer.

       Oklahoma has long held that an employee can tortiously interfere with another

employee’s contract with the same employer even if the interference is from a state

employee and part of the decision making process. Martin v. Johnson, 1998 OK 127, ¶¶

30-34, 975 P.2d 889. 897-98. A claim of tortious interference with a contract requires the

plaintiff to plead: (1) a business or contractual right with which there was interference; (2)

the interference was malicious and wrongful; (3) the interference was neither justified,

privileged nor excusable; and, (4) damages proximately resulted from the interference.

Marrow Development Corp. v. American Bank and Trust Co., 1994 OK 26, ¶ 10, 875 P.3d

411, 416. Sanders, Zubialde, Sullivan, and Edil allege they cannot be held liable for their

tortious interference, either officially or individually, because they allege they were acting

within the scope of their employment when they engaged in the tortious interference. Doc.

6, pgs. 12-13.10 These assertions ignore clear Oklahoma law.


10
  Dr. Tufaro notes that he also sued Defendants Smith and Tiwana for tortious interference.
(Doc. 1-3, ¶¶ 81-91). Neither Defendant sought dismissal of this Count in their Motion to
Dismiss. See Doc. 7. The Complaint clearly included them in the definition of “Oral
Surgeons” in the Complaint, See Doc. 1-3, ¶ 10, and thus in Count IV. Doc. 1-3, ¶ 84.
Regardless, for the same reasons as Defendant Sullivan, who did seek dismissal and who
is also included in the definition of “Oral Surgeons,” Defendants Smith and Tiwana are not
entitled to dismissal of Count III. The same is true with respect to Count V (Civil
Conspiracy).
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       Two Oklahoma Supreme Court cases squarely address this issue. In Martin v.

Johnson, the court held a corporate officer’s interference with the employer’s contract with

an employee is tortious and actionable if the interference was in bad faith. 1998 OK 127, ¶

31, 975 P.2d at 896-97 (“If an employee acts in bad faith and contrary to the interests of

the employer in tampering with a third party’s contract with the employer we can divine

no reason that the employee should be exempt from a tort claim for interference with

contract.”). Moreover, the Oklahoma Supreme Court rejected the notion that governmental

tort immunity might apply to protect state actors like the Defendants here. Pellegrino v.

State ex rel. Cameron University, 2003 OK 2, 63 P.3d 535.

       In Pellegrino, the decision maker argued he should be dismissed from any liability

for tortious interference because no notice of tort claim was filed by the plaintiffs. Id. at ¶

3, 536. The certified question from the Western District asked whether the fact that the

offending actor was outside the scope of his employment removed the matter from

Oklahoma’s Governmental Tort Claims Act (“OGTCA”). Dr. Tufaro clearly alleges the

Oral Surgeons and the University Defendants were “acting outside the scope of their

employment” when they “tortiously caused OU to terminate its Contract with Dr. Tufaro.”

Neither the Western District nor the Oklahoma Supreme Court had any trouble finding the

allegations of tortious interference fall outside the protections of the OGTCA. Pellegrino,

2003 OK 2, ¶ 6, 63 P.3d at 537. Defendants’ motion must be denied.




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                                      Proposition IX

Count V correctly alleges a state law claim that the individual Defendants were
engaged in a civil conspiracy to deprive Dr. Tufaro of his employment with OU for
tortious purposes.

       “A civil conspiracy consists of a combination of two or more persons to do an

unlawful act, or to do a lawful act by unlawful means.” Brock v. Thompson, 1997 OK 127,

¶ 39, 948 P.3d 279, 294. While not a stand-alone tort, civil conspiracy serves to enlarge the

pool of defendants against whom Dr. Tufaro may recover for the underlying torts.

       Dr. Tufaro alleges that Sullivan, Smith, Tiwana, Zubialde, Edil, and Sanders “jointly

conspired to cause OU to terminate [his] employment because Dr. Tufaro spoke out about

matters of public concern regarding malfeasance by the Oral Surgeons.” Doc. 1-3, ¶ 95.

The Complaint explicitly alleges some of these Defendants were performing the unlawful

acts of violating his right to free speech and tortiously interfering with his contract with

OU. The Complaint further documents the unlawful means they used by refusing to provide

a reason for the termination decision and retaliating against him for exercising his right to

free speech. Because the claims were adequately pleaded, Count V must remain.

                                      Proposition X

Count VI(A) alleges a state law claim that Defendants OU, Zubialde, Edil, Sullivan,
and Sanders terminated Dr. Tufaro in retaliation for his exercise of free speech in
violation of Art. 2, § 22, of the Oklahoma Constitution. No Defendant addressed this
claim in their respective motions to dismiss. No Defendant is entitled to any immunity
on this state law claim.

       The Oklahoma Constitution provides that every person “may freely speak, write, or

publish his sentiments on all subjects, being responsible for the abuse of that right.” Okla.

Const. Art. 2, § 22. The Oklahoma Supreme Court finds this language provides broader
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protection than the First Amendment of the U.S. Constitution. In re Initiative Petition No.

366, 2002 OK 21, ¶ 7, 46 P.3d 123, 127. Violations of the Oklahoma Constitution are

actionable pursuant to the OGTCA. 51 O.S. § 153(B) (“The liability of the state … shall

be exclusive and shall constitute the extent of tort liability of the state … or employees

arising from common law, statute, the Oklahoma Constitution, or otherwise.”).11

       Dr. Tufaro raises this Oklahoma Constitutional claim as an alternative to his First

Amendment retaliation claim and his Burk tort claim. Dr. Tufaro recognizes that he only

has a stand-alone claim under Art. 2, § 22, if the Court were ever to find that his First

Amendment claim fails for some reason. Murphy v. Spring, 58 F.Supp.3d 1241, 1260-61

(N.D. Okla. 2014) (“Ordinarily, this provision [Art. 2, § 22] is invoked as a public policy

supporting a Burk tort for wrongful discharge, rather than a stand-alone claim. … In cases

where the constitutional provision has been invoked as a stand-alone claim, courts have

held that it may not proceed to trial simultaneously with a § 1983 First Amendment

retaliation claim.”) (citations omitted).

       Dismissal of the Art. 2, § 22 claim at this stage is improper. It must at least await a

determination on Dr. Tufaro’s First Amendment and Burk tort claims.




11
  Section 155 of the OGTCA provides exceptions to state liability, none of which apply
here. Thus, the discussion in Barrios v. Haskell County Public Facilities Auth., 2018 OK
90, 432 P.3d 233 and more recently Payne v. Kerns, 2020 OK 31, 467 P.3d 659, does not
apply here. Those cases found that the legislatures inclusion of exemptions in § 155
eliminated the private right of action for the different constitutional torts claimed in those
case.
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                                      Proposition XI

Count VI(B) alleges a state law claim that OU’s termination of Dr. Tufaro violated
Oklahoma public policy. Dr. Tufaro was speaking out against government
wrongdoing and violations of federal and state law which Oklahoma recognizes as
consistent with public policy. Dr. Tufaro’s contract meets the definition of employee-
at-will.

       OU seeks dismissal of Dr. Tufaro’s public policy Burk tort claim.12 OU does not

challenge the basic holding in Burk v. K-Mart Cor., 1989 OK 22, 770 P.3d 24, that Dr.

Tufaro’s termination involved actions by him that were consistent with Oklahoma public

policy. Doc. 5, pgs. 6-7. OU articulates a specific attack on the Burk claim arguing only

that Dr. Tufaro was not an employee-at-will. Id.

       Of course, Defendants took the exact opposite position in response to Count II

(breach of contract) and Count III (property interest) in which OU and Defendants

Zubialde, Edil, Sullivan, and Sanders, argued Dr. Tufaro’s contract with OU could be

terminated without just cause. These Defendants insist dismissal is warranted on Dr.

Tufaro’s property right claim and his Burk tort claim despite the clear law that a plaintiff

can plead alternate theories. Fed.R.Civ.P. 8(d)(3) (“A party may state as many separate

claims or defenses as it has, regardless of consistency.”); Lann v. Hill, 436 F.Supp. 463,

465 (W.D. Okla. 1977) (“Plaintiffs are entitled to state as many claims as they have

regardless of inconsistencies.”) Either Dr. Tufaro had a contract that required him to be

terminated only for just cause such that Counts II (breach of contract) and III (due process)



12
  Zubialde, Edil, Sullivan, and Sanders also asked for dismissal of Dr. Tufaro’s Burk tort.
Dr. Tufaro did not sue these Defendants for this cause of action. Paragraph 105 confirms
that this cause was only against OU, as OU was Dr. Tufaro’s employer. Doc. 1-3, ¶ 105.
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are appropriate, or he was an employee-at-will such that Count VI(B) is appropriate.

Discovery is needed to flesh this out. Dismissal stage of the proceedings is improper.

       OU asserts Dr. Tufaro met the definition of employment-at-will in its motion to

dismiss, as did the individual Defendants. OU asserts the terms of the “Faculty Handbook

… clearly lay out that consecutive terms appointments like that which Plaintiff had, are

subject to non-renewal or termination when there is notification.” Doc. 5, pgs. 4-5.

Likewise, the individual Defendants assert the “terms of his contract provided that his

contract would be automatically renewed unless he received timely notice of non-renewal.”

Doc. 6, pg. 9 (emphasis original). Defendants thus argue they were able to end the

employment relationship at their will. This meets the definition of employment-at-will for

a Burk tort to lie. OU’s request for dismissal of Dr. Tufaro’s Burk tort is without merit.

                                     CONCLUSION

       Dr. Tufaro respectfully requests that the motions to dismiss be denied.




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                                          Respectfully submitted,


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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of December, 2020, I electronically transmitted
the foregoing document to the Clerk of Court using the ECF System for filing and
transmittal of a Notice of Electronic Filing to the following ECF registrants:

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